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                           Exhibit 2
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                   V.R., ET AL. vs COUNTY OF SAN BERNARDINO, ET AL.
                            Deputy Mariusz Kuskowski on 02/15/2021                         ·

    ·1· · · · · · · · · ·UNITED STATES DISTRICT COURT

    ·2· · · · · · · · · CENTRAL DISTRICT OF CALIFORNIA

    ·3

    ·4·   ·V.R., a minor, by and through her· · · )
    · ·   ·guardian ad litem Ariana Toscano,· · · )
    ·5·   ·individually and as successor in· · · ·)
    · ·   ·interest to Juan Ramon Ramos, deceased;)
    ·6·   ·and RAMONA TERRAZAS, individually,· · ·)
    · ·   · · · · · · · · · · · · · · · · · · · · )
    ·7·   · · · · · · · · Plaintiffs,· · · · · · ·)
    · ·   · · · · · · · · · · · · · · · · · · · · )
    ·8·   · · · · · · · · vs.· · · · · · · · · · ·)Case No.
    · ·   · · · · · · · · · · · · · · · · · · · · )5:19-CV-01023-JGB-SP
    ·9·   ·COUNTY OF SAN BERNARDINO; GARY WHEELER;)
    · ·   ·THUN HOUN; JASON CALVERT; and DOES 4-· )
    10·   ·10, inclusive,· · · · · · · · · · · · ·)
    · ·   · · · · · · · · · · · · · · · · · · · · )
    11·   · · · · · · · · ·Defendants.· · · · · · )
    · ·   ·_______________________________________)
    12

    13

    14· · · · · · · ·REMOTE VIDEOCONFERENCE DEPOSITION OF

    15· · · · · · · · · · ·DEPUTY MARIUSZ KUSKOWSKI

    16· · · · · · · · · · ·MONDAY, FEBRUARY 15, 2021

    17

    18

    19

    20

    21

    22

    23· ·Reported Stenographically by:

    24· ·Jinna Grace Kim, CSR No. 14151

    25· ·Job No.:· 326801


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    ·1· · · ·Q.· ·Okay.· Do you recall what the order was?
    ·2· · · · · · In other words, was it the bean bag first, and then
    ·3· ·the Taser, and then the gunshot?
    ·4· · · · · · MR. FUJII:· Objection.· Just want to clarify, does
    ·5· ·he recall after watching the videos, or does he recall from
    ·6· ·his personal observations at the scene?
    ·7· · · · · · MR. GALIPO:· Good clarification.
    ·8· ·BY MR. GALIPO:
    ·9· · · ·Q.· ·I meant to say after watching the videos.
    10· · · ·A.· ·All the videos?
    11· · · ·Q.· ·All the videos, yes, sir.
    12· · · ·A.· ·Yes, sir.· So I recall hearing the bean bag rounds.
    13· · · · · · I recall hearing Taser and a firearm being
    14· ·deployed.
    15· · · ·Q.· ·When the bean bag rounds were going off, do you know
    16· ·who was firing them?
    17· · · ·A.· ·Deputy Houn.
    18· · · ·Q.· ·Do you know where the decedent was when the bean bag
    19· ·rounds were going off?· Was he just outside the opened door
    20· ·area of the car?
    21· · · ·A.· ·I believe that's where he was at, yes, sir, outside
    22· ·the door.
    23· · · ·Q.· ·Thank you.· And how about when the Taser went off,
    24· ·do you know where the decedent was at that point?
    25· · · · · · MR. FUJII:· The first Taser or the second Taser?

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    ·1· ·bean bag?
    ·2· · · ·A.· ·Deputy Houn had bean bag, yes.
    ·3· · · ·Q.· ·And then do you know who had the Taser?
    ·4· · · ·A.· ·It was Sergeant Calvert.
    ·5· · · ·Q.· ·So at some point when you got to the scene, did you
    ·6· ·see the White Crown Victoria?
    ·7· · · ·A.· ·Yes.
    ·8· · · ·Q.· ·And did you understand there was a person inside
    ·9· ·it?
    10· · · ·A.· ·Yes.
    11· · · ·Q.· ·And at some point did you see or learn he had a box
    12· ·cutter?
    13· · · ·A.· ·Yes.
    14· · · ·Q.· ·And at some point did Sergeant Wheeler place his
    15· ·vehicle behind the Crown Victoria?
    16· · · ·A.· ·Yes.
    17· · · ·Q.· ·And was it your understanding that he did that so
    18· ·the vehicle could not back up?
    19· · · ·A.· ·Yes.
    20· · · ·Q.· ·All right.· Did you have any specific information
    21· ·about the person in the car?· In other words, his name, his
    22· ·background, anything like that?
    23· · · ·A.· ·Okay.· So about an hour or so before this incident I
    24· ·responded to this area of for an area check about a vehicle
    25· ·driving up and down 13th Street.· When I got to that area the

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    ·1· ·vehicle was gone.· I was approached by a gentleman, David
    ·2· ·Zuniga [phonetic], who basically said, "Hey, some guys are
    ·3· ·here.· My cousin Ramos, he's been driving up, you know,
    ·4· ·causing disturbance."
    ·5· · · · · · And I thought, you know what, that's actually why
    ·6· ·I'm here.· And he said something to the effect of, "Yeah, I
    ·7· ·figured."
    ·8· · · · · · So that's how I first -- later on when I put two
    ·9· ·pieces together, that's when I found out about the Crown Vic.
    10· ·So I conducted an area check and I did not locate the Crown
    11· ·Vic.
    12· · · ·Q.· ·Okay.· And where was the Crown Vic the next time you
    13· ·saw it?· Was it in this position or somewhere else?
    14· · · ·A.· ·It was at a gas station, sir.
    15· · · ·Q.· ·And then at some point was there a pursuit that
    16· ·ended at this position?
    17· · · ·A.· ·Yes, sir.
    18· · · ·Q.· ·How long was the pursuit about?
    19· · · ·A.· ·It was short.· It was a short pursuit.
    20· · · ·Q.· ·Are we talking couple minutes, or what would you
    21· ·estimate?
    22· · · ·A.· ·Two, three minutes.
    23· · · ·Q.· ·And what distance?· Also very short?
    24· · · ·A.· ·It was a short distance, yes.
    25· · · ·Q.· ·Was there any excessive speeds on anything?

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    ·1· · · ·A.· ·I was the third in pursuit.· The one speed that I
    ·2· ·recall hearing over the radio was 40 miles-an-hour, so.
    ·3· · · ·Q.· ·So were you then at this scene before Sergeant
    ·4· ·Wheeler got there, or was Sergeant Wheeler one of the
    ·5· ·vehicles in the pursuit?
    ·6· · · ·A.· ·Sergeant Wheeler was the primary vehicle in the
    ·7· ·pursuit.
    ·8· · · ·Q.· ·Were some of the deputies asking the person to get
    ·9· ·out of the car?
    10· · · ·A.· ·Are we talking about where the pursuit terminated.
    11· · · ·Q.· ·Yes.· Now I'm to the termination point.
    12· · · · · · So I'm sorry about that.· Now, I'm at the point
    13· ·where the vehicle came to a stop.· The driver is inside the
    14· ·vehicle.· The officers are talking and making tactical plan,
    15· ·trying to figure out how to best handle the situation.
    16· · · · · · Do you know the time period I'm talking about?
    17· · · ·A.· ·Yes, sir.
    18· · · ·Q.· ·And did Sergeant Wheeler at some point request that
    19· ·you and Deputy Lopez be lethal cover?
    20· · · ·A.· ·There was no request per se.· He didn't order us.
    21· · · ·Q.· ·At some point, and now I'm talking about after the
    22· ·pursuit ended and the vehicle was in its position, and after
    23· ·Sergeant Wheeler pulled his vehicle behind it, were some of
    24· ·the deputies asking for the driver to get out of the
    25· ·vehicle?

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    ·1· · · ·A.· ·Yes.
    ·2· · · ·Q.· ·And at some point did you see the door opening a
    ·3· ·little bit and closing before he actually got out?
    ·4· · · ·A.· ·Well, he -- okay.· So when he was still parked, yes,
    ·5· ·he opened his door couple times like you mentioned, sir.
    ·6· · · · · · It was -- it was never fully opened.
    ·7· · · ·Q.· ·Okay.· And where were you positioned when he was
    ·8· ·doing that?
    ·9· · · ·A.· ·So in the driveway of the house that's up in the
    10· ·exhibit, there was a white car.
    11· · · ·Q.· ·Okay.
    12· · · ·A.· ·The front of the car was facing north.· This truck
    13· ·was in facing south.· It was in the driveway.
    14· · · · · · So Deputy Lopez and I were near the trunk of the
    15· ·vehicle, sir.
    16· · · · · · MR. GALIPO:· Can we look at Exhibit 2, please.
    17· · · · · · (Exhibit 2 was marked for identification.)
    18· ·BY MR. GALIPO:
    19· · · ·Q.· ·Does that show the white car a little bit?
    20· · · ·A.· ·I believe so.
    21· · · ·Q.· ·Was that also a Crown Victoria?
    22· · · ·A.· ·I believe so, sir.· I believe it was a Crown
    23· ·Victoria.
    24· · · ·Q.· ·But in any event, you were towards the rear of that
    25· ·car?

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    ·1· · · ·Q.· ·So I asked you about the video, and you told me
    ·2· ·where he was.
    ·3· · · ·A.· ·Yes.
    ·4· · · ·Q.· ·And I was trying to ask a follow-up.
    ·5· · · · · · Did you know where he was at the time this
    ·6· ·happened?
    ·7· · · ·A.· ·When he was opening and closing the doors?
    ·8· · · ·Q.· ·Correct.· Where the Deputy Houn was.
    ·9· · · ·A.· ·Sir, I couldn't tell you exactly where he was, you
    10· ·know, the whole time throughout the incident.
    11· · · ·Q.· ·That's fine.· Now, at some point you saw him get out
    12· ·of the car; is that correct?
    13· · · ·A.· ·Yes.
    14· · · ·Q.· ·And was that after Deputy-or Sergeant Wheeler
    15· ·approached on the passenger side with the ram to break the
    16· ·window?
    17· · · ·A.· ·He did not get out of the car at that point, sir.
    18· · · ·Q.· ·First, the window was broke; correct?
    19· · · ·A.· ·Yes, sir.
    20· · · ·Q.· ·Then the car moved forward?
    21· · · ·A.· ·Correct.
    22· · · ·Q.· ·Then he got out?
    23· · · ·A.· ·Yes, sir.
    24· · · ·Q.· ·Okay.· And there was also a K-9 dog on the passenger
    25· ·side?

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    ·1· · · ·A.· ·Yes, sir.
    ·2· · · ·Q.· ·Did you move your position when the car moved
    ·3· ·forward?
    ·4· · · ·A.· ·Not initially.
    ·5· · · ·Q.· ·Where were you when he first got out of the car?
    ·6· · · ·A.· ·I was still at the rear of the vehicle.
    ·7· · · · · · MR. FUJII:· Of the?
    ·8· · · · · · THE WITNESS:· Of the -- okay.· So --
    ·9· ·BY MR. GALIPO:
    10· · · ·Q.· ·The white car in the driveway?
    11· · · ·A.· ·Yes.· So when the window was broken, Deputy Lopez
    12· ·and I moved westbound.· I kept vehicle coverage on the
    13· ·vehicle.· The vehicle drove over the curb, and that's when I
    14· ·started -- that's when I started trying the door open.
    15· · · · · · Mr. Ramos get out.· And that's when I started moving
    16· ·forward.
    17· · · ·Q.· ·Someone else had testified that the front of the
    18· ·Ramos vehicle was facing eastbound.· I'm not sure if that's
    19· ·correct or not.
    20· · · · · · But do you know which way was east or west?
    21· · · ·A.· ·Yes.· His vehicle was facing east, yes.
    22· · · ·Q.· ·Okay.· So when he got out of the vehicle at least
    23· ·initially, you would still be behind the white car?
    24· · · · · · MR. FUJII:· Objection.· Misstates his testimony.
    25· · · · · · I'm not sure when he was moving forward.

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 ·1· ·I have a transcription, and this was the area where he's
 ·2· ·getting out of the car.· So I was just looking to see what
 ·3· ·you indicated in your statement.
 ·4· · · · · · Do you know if you heard a Taser go off before he
 ·5· ·went back in the car the first time?
 ·6· · · ·A.· ·I'm sorry.· Say it again, sir.· I apologize.
 ·7· · · ·Q.· ·That's okay.· By the way, I think you have a very
 ·8· ·nice personality.· So I want to tell you that.
 ·9· · · ·A.· ·Thank you.
 10· · · ·Q.· ·You're welcome.
 11· · · · · · What my question is:· Did you hear a Taser go off
 12· ·before he went back in the car the first time?
 13· · · ·A.· ·Yes.· I believe that was a Taser before he went back
 14· ·inside.
 15· · · ·Q.· ·Could you tell whether he was struck by any of the
 16· ·bean bag rounds?
 17· · · ·A.· ·No, sir.· I was not able to tell.
 18· · · ·Q.· ·When he got out of the car the first time, was he
 19· ·running in any direction?
 20· · · ·A.· ·When he first got out of the car, it didn't appear
 21· ·so.
 22· · · ·Q.· ·And do you know about how much time passed from him
 23· ·getting out the first time to him getting back in?
 24· · · ·A.· ·It was quick.
 25· · · ·Q.· ·Maybe a few seconds?

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 ·1· · · ·A.· ·Yes, sir.
 ·2· · · ·Q.· ·And just so we're clear, he got out the first time
 ·3· ·after the car moved forward?
 ·4· · · ·A.· ·Yes, sir.
 ·5· · · ·Q.· ·And how much time passed before he got out the
 ·6· ·second time?
 ·7· · · ·A.· ·It was quick as well, sir.
 ·8· · · ·Q.· ·Also maybe just a few seconds?
 ·9· · · ·A.· ·Yes, sir.
 10· · · ·Q.· ·And when he got out the second time, is that when he
 11· ·ran?
 12· · · ·A.· ·Yes, sir.
 13· · · ·Q.· ·And which direction did he run?
 14· · · ·A.· ·He ran up northbound on alley and then over the
 15· ·fence.
 16· · · ·Q.· ·How far did he run, if you know, approximately
 17· ·northbound before he went over the fence?
 18· · · ·A.· ·Sir, I don't want to guess.· It was a short
 19· ·distance, sir.
 20· · · ·Q.· ·I don't know.· If you're not comfortable giving an
 21· ·estimate, that's fine.· I'm not going to force you to do
 22· ·that, but, you know, I just wanted to get your impression if
 23· ·you thought it was, you know, 10 feet, 50 feet, 30 feet, any
 24· ·range.· But if you're not comfortable giving an estimate,
 25· ·that's okay.

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 ·1· · · · · · Were you watching him when he was running north in
 ·2· ·the alley before he went over the fence?
 ·3· · · ·A.· ·Yes.
 ·4· · · ·Q.· ·Were you watching him continuously from the time he
 ·5· ·started to run north to the time he went over the fence?
 ·6· · · ·A.· ·Yes.
 ·7· · · ·Q.· ·And could you see any other people in the alley when
 ·8· ·he was running northbound other than him?
 ·9· · · ·A.· ·No, sir, I could not.
 10· · · ·Q.· ·And did you hear any shots being fired of any kind
 11· ·as he was running northbound?
 12· · · ·A.· ·No.
 13· · · ·Q.· ·The lethal shot, when did you hear the firearm
 14· ·shot?
 15· · · ·A.· ·Sir, I did not hear the firearm.
 16· · · ·Q.· ·So are you saying that, you know now there was a
 17· ·shot fired from a firearm, but at the time you did not know
 18· ·that?
 19· · · ·A.· ·At the initial time when the shooting occurred, I
 20· ·did not know.
 21· · · ·Q.· ·You found out at some point afterwards?
 22· · · ·A.· ·Yes, sir.
 23· · · ·Q.· ·So what I'm asking now is when he got out the second
 24· ·time, did you hear any rounds being fired?
 25· · · · · · I'm not going to ask you to distinguish, but did you

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 ·1· · · ·A.· ·So yes, sir, there was.· Sergeant Wheeler
 ·2· ·communicated with us throughout the whole incident.· The
 ·3· ·point was to bring this to a peaceful resolution.· That was a
 ·4· ·plan from the very beginning, but it escalate.· And like I
 ·5· ·said, before Sergeant Wheeler broke the window, he
 ·6· ·communicated with us and told us I'm going to break the
 ·7· ·window.· The K-9 is going to start barking.· Let's see what
 ·8· ·he does.
 ·9· · · ·Q.· ·Okay.· So was it discussed what you were going to do
 10· ·if he got out of the car, for example?
 11· · · ·A.· ·In detail after that point, not to my personal
 12· ·recollection, no, sir.
 13· · · ·Q.· ·Was it discussed what you would do if he tried to
 14· ·drive the car away?
 15· · · ·A.· ·Just let him go.
 16· · · ·Q.· ·Was it discussed what you would do if he got out of
 17· ·the car if he started running away?
 18· · · ·A.· ·Not to me directly, no.
 19· · · ·Q.· ·Did you hear that discussed with anyone else?
 20· · · ·A.· ·Not to my best of recollection.
 21· · · ·Q.· ·And what you say just let him go, what was your
 22· ·understanding of why you would just let him go under the
 23· ·circumstances?
 24· · · ·A.· ·What I mean by let him go, sir, is when Sergeant
 25· ·Wheeler broke the window of the car, and he could take off

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 ·1· ·driving, to let it drive.· Do not pursuit on foot behind the
 ·2· ·vehicle.· That was my understanding.
 ·3· · · ·Q.· ·What if the vehicle had went down the alley, what
 ·4· ·was the plan then, if you know?
 ·5· · · ·A.· ·I do not know, sir.· I know we had units staged in
 ·6· ·the area, and we also had our aviation unit available.
 ·7· · · ·Q.· ·Do you know if the helicopter was overhead or
 ·8· ·orbiting before the incident?
 ·9· · · ·A.· ·I believe the helicopter was overhead the whole
 10· ·time.
 11· · · ·Q.· ·Was it making some noise?
 12· · · ·A.· ·You can hear the helicopter, sir.
 13· · · ·Q.· ·And when Mr. Ramos got out of the car the first
 14· ·time, were multiple officers yelling at him or giving him
 15· ·commands?
 16· · · ·A.· ·No, sir.
 17· · · ·Q.· ·Do you know if anyone was giving him commands when
 18· ·he got out of the car the first time?
 19· · · ·A.· ·I do not recall, sir.
 20· · · ·Q.· ·When Sergeant Wheeler moved up on the passenger side
 21· ·of the car to break the window, did you or Lopez move up at
 22· ·that time?
 23· · · ·A.· ·We stayed put, sir.· We were still in the same
 24· ·position.
 25· · · ·Q.· ·When the vehicle moved forward and came to a stop,

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 ·1· ·not Mr. Ramos was in the alley facing in a north direction
 ·2· ·when you heard the shot?
 ·3· · · ·A.· ·I don't remember, sir.
 ·4· · · ·Q.· ·Okay.
 ·5· · · · · · MR. GALIPO:· Counsel, do you want to take a break
 ·6· ·now?
 ·7· · · · · · MR. FUJII:· Five minutes?
 ·8· · · · · · MR. GALIPO:· Sure.
 ·9· · · · · · (Recess taken.)
 10· ·BY MR. GALIPO:
 11· · · ·Q.· ·So with regards to your statement when you reviewed
 12· ·it recently, did you have a transcript, or were you listening
 13· ·to the audio or maybe both?
 14· · · ·A.· ·Little bit of both.
 15· · · ·Q.· ·Do you recall Sergeant Wheeler telling the deputies
 16· ·that if the subject gets out of the car, that the deputies
 17· ·should tell him to get on his knees?
 18· · · ·A.· ·Yes.· I recall that.
 19· · · ·Q.· ·And that if he doesn't get on his knees, then he
 20· ·would get hit with a Taser?
 21· · · ·A.· ·Yes, sir.
 22· · · ·Q.· ·And do you know if anyone told him to get on his
 23· ·knees after he got out of the car?
 24· · · ·A.· ·Not that I heard, sir.
 25· · · ·Q.· ·At some point did you have the impression that

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 ·1· ·Mr. Ramos wanted some water?
 ·2· · · ·A.· ·Yes, I did, sir.
 ·3· · · ·Q.· ·And what did you see that gave you that
 ·4· ·impression?
 ·5· · · ·A.· ·What gave me that impression was Mr. Ramos raised
 ·6· ·his hand and appeared like it was a empty water jug in his
 ·7· ·pants, sir.· Based on how hot it was that day, I presumeed he
 ·8· ·was thirsty.
 ·9· · · ·Q.· ·Now, at some point you went on the property;
 10· ·correct, after he went over the fence?
 11· · · ·A.· ·Correct.
 12· · · ·Q.· ·And this box cutter knife, when you got on the
 13· ·property, did you see a female holding it?
 14· · · ·A.· ·Yes, sir.
 15· · · ·Q.· ·Did you see her take it away from him, or was she
 16· ·already holding it when you saw her?
 17· · · ·A.· ·I believe she was already holding it, sir.
 18· · · ·Q.· ·And then was it Deputy Lopez from Central who
 19· ·handcuffed the individual?
 20· · · ·A.· ·Yes, sir.
 21· · · · · · MR. FUJII:· Just for the record, that would be
 22· ·Alfredo Lopez, not Charles Lopez.
 23· · · · · · MR. GALIPO:· Okay.· Thank you for that.
 24· ·BY MR. GALIPO:
 25· · · ·Q.· ·So did you watch not only your body cam, but some of

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 ·1· · · ·Q.· ·Did the situation escalate to that while he was in
 ·2· ·the car?· Is my question.
 ·3· · · ·A.· ·While he was in the car, I mean he had a weapon with
 ·4· ·him.
 ·5· · · ·Q.· ·Right.· But I'm just wondering based on your
 ·6· ·training, did you think it would have been appropriate to
 ·7· ·shoot him while he was in the car?
 ·8· · · ·A.· ·While he was in the car?
 ·9· · · ·Q.· ·Correct.
 10· · · ·A.· ·Well, I mean just by him sitting in the car without
 11· ·any other -- no.
 12· · · ·Q.· ·Right.· Well, everything we have in this case
 13· ·including the box cutter while he was in the car, did you
 14· ·think it was appropriate to shoot him?
 15· · · ·A.· ·While he was sitting in the car?
 16· · · ·Q.· ·Correct.
 17· · · ·A.· ·Just sitting in the car, no.· Just sitting, no.
 18· · · ·Q.· ·How about when he got out of the car the first time
 19· ·as we see in the video before he gets back in, did you think
 20· ·based on your training it would be appropriate to shoot him
 21· ·when he got out the first time?
 22· · · · · · MR. FUJII:· Objection.· Calls for expert testimony.
 23· · · · · · I'm actually going to instruct him not to answer.
 24· · · · · · It's calling for exert testimony.
 25· ·BY MR. GALIPO:

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 ·1· · · ·Q.· ·Was it your training that you can use deadly force
 ·2· ·if there is an immediate threat of death or serious bodily
 ·3· ·injury to an officer or another person?
 ·4· · · ·A.· ·Yes.
 ·5· · · ·Q.· ·Did you ever use any deadly force in this
 ·6· ·incident?
 ·7· · · ·A.· ·No.
 ·8· · · ·Q.· ·Will you be okay if I don't ask you anymore
 ·9· ·questions?
 10· · · ·A.· ·I will be fine with that, sir.
 11· · · ·Q.· ·Will you also be fine if I don't show you any more
 12· ·body cams?
 13· · · ·A.· ·I'll be fine with that as well, sir.
 14· · · · · · MR. GALIPO:· Counsel, do you have any questions of
 15· ·this gentleman today?
 16· · · · · · MR. FUJII:· None.· And I'll agree to our prior
 17· ·stipulations.
 18· · · · · · MR. GALIPO:· So stipulated.
 19· · · · · · (Deposition proceeding concluded at 2:25 p.m.)
 20· · · · · · · · · · · · · · · *· * *
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